AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  Wisconsin
                                                                      __________


 WILLIAM FEEHAN and DERRICK VAN ORDEN                          )
                             Plaintiff                         )
                  v.                                           )      Case No. 2:20-cv-01771-PP
WISCONSIN ELECTIONS COMMISSION, et al.                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Intervenor - Democratic
         Intervenor/Amicus        National
                           Democratic      Committee
                                        National Committee                                                             .


Date:          12/09/2020                                                             /s/ Christopher Bouchoux
                                                                                         Attorney’s signature


                                                                                      Christopher Bouchoux
                                                                                     Printed name and bar number
                                                                                       7 World Trade Center
                                                                                       250 Greenwich Street
                                                                                       New York, NY 10007

                                                                                               Address

                                                                            Christopher.Bouchoux@wilmerhale.com
                                                                                            E-mail address

                                                                                          (212) 230-8823
                                                                                          Telephone number

                                                                                          (212) 230-8888
                                                                                             FAX number




                       Case 2:20-cv-01771-PP Filed 12/09/20 Page 1 of 1 Document 80
